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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
CHRISAVGI SOURGOUTSIS                     )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  ) Civil Action No. 1:16-cv-01096-KBJ
                                          )
THE UNITED STATES CAPITOL POLICE          )
                                          )
      Defendant.                          )
                                          )
_________________________________________ )

                                   JOINT STATUS REPORT

        Plaintiff Chrisavgi Sourgoutsis (“Plaintiff”) and Defendant United States Capitol Police

(the “USCP”) jointly submit this Status Report in accordance with the Court’s July 12, 2019

Minute Orders, ordering the parties to file a joint status report proposing dates for the following

pretrial documents: (1) Motions in Limine; (2) opposition to Motions in Limine; (3) replies in

support of Motions in Limine; and (4) joint pretrial statement. The Court Orders further

requested that the parties indicate whether they are available for a final pretrial conference on

October 23, 2019, October 24, 2019, or October 25, 2019 as the Court is no longer available on

October 22, 2019. The parties’ proposals are set forth below.

   I.      Plaintiff’s Proposed Dates

        Plaintiff proposes adhering to the already scheduled dates proposed by the Court, with the

following deadlines:

           •   Deadline for Motions in Limine: July 29, 2019
           •   Deadline for Responses to Motions in Limine: August 12, 2019
           •   Deadline for Reply to Motions in Limine: August 19, 2019
           •   Deadline for Joint Pretrial Statement: August 14, 2019
           •   Final Pretrial Conference: October 23, 2019


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         Plaintiff proposes the above dates as they adhere to the Court’s July 12, 2019 Minute

Order to brief Motions in Limine prior to the submission of the Joint Pretrial Statement.

Additionally, these dates were specifically chosen due to counsel for the USCP’s representation

that she is unavailable for the majority of September, and counsel for the Plaintiff’s

representation that he is unavailable during the last two weeks of August. Regarding the dates

offered for the Final Pretrial Conference, Plaintiff’s counsel is unavailable October 24 and 25,

2019 due to a scheduled conference in Atlanta, Georgia, and respectfully requests the date of

October 23, 2019.

   II.      The USCP’s Proposed Dates

         The USCP proposes the following deadlines:

            •   Deadline for Motions in Limine: September 6, 2019
            •   Deadline for Opposition to Motions in Limine: September 16, 2019
            •   Deadline for Reply to Motions in Limine: September 20, 2019
            •   Deadline for Joint Pretrial Statement: August 14, 2019
            •   Final Pretrial Conference: October 23, 2019

         The USCP requests that the parties file Motions in Limine after the parties have identified

in the joint pre-trial statement the witnesses and evidence they will seek to present at trial.

Plaintiff’s proposed dates would require the parties to file Motions in Limine in less than two

weeks, although the parties have not engaged in any substantial exchange of information

concerning their prospective trial presentations. The USCP cannot reasonably draft and submit

Motions in Limine by July 29, 2019, especially when it does not know at this time what evidence

Plaintiff intends to present. While the USCP’s counsel will be out of the country in September,

The USCP will be able to meet the deadlines concerning Motions in Limine during that month.




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Date: July 15, 2019                   Respectfully submitted,

                                           /s/Kelly M. Scindian___________________
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2019, I electronically filed the foregoing document with

the Clerk of the Court for the United States District Court for the District of Columbia, using the

Court’s CM/ECF system. The CM/ECF system sent a “Notice of Electronic Filing” to all

counsel of record in this matter.


                                                     /s/R Scott Oswald__________________
                                                     R. Scott Oswald




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